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                                                                          Page 1
                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

               Case No. 1:15-cv-025560-WJM-MJW
               ______________________________________________________
               DEPOSITION OF: LINDA A. HEYRMAN - August 24, 2017
               ______________________________________________________

               LORRAINE M. RAMOS, CONSTANCE R. WILLIAMSON, KAREN F.
               McCLEOD, ROBERT MOFFITT, CHERLENE M. GOODALE, LINDA
               ANN HEYRMAN, and DELRI HANSON, individually and as
               representatives of a class of plan participants, on
               behalf of the Banner Health Employees 401(k) Plan,

               Plaintiffs,

               v.

               BANNER HEALTH, BANNER HEALTH BOARD OF DIRECTORS,
               LAREN BATES, WILFORD A. CARDON, RONALD J. CREASMAN,
               GILBERT DAVILA, WILLIAM M. DWYER, PETER S. FINE,
               SUSAN B. FOOTE, MICHAEL J. FRICK, MICHAEL GARNREITER,
               RICHARD N. HALL, BARRY A. HENDIN, DAVID KIKUMOTO,
               LARRY S. LAZARUS, STEVEN W. LYNN, ANNE MARIUCCI,
               MARTIN L. SHULTZ, MARK N. SKLAR, QUENTIN P. SMITH,
               JR., CHRISTOPHER VOLK, CHERYL WENZINGER, BANNER HEALTH
               RETIREMENT PLANS ADVISORY COMMITTEE, BRENDA SCHAEFER,
               BRUCE E. PEARSON, CHARLES P. LEHN, COLLEEN HALLBERG,
               DAN WEINMAN, DENNIS DAHLEN, ED NIEMANN, JR.,
               ED OXFORD, JEFF BUEHRLE, JENNIFER SHERWOOD,
               JULIE NUNLEY, MARGARET DEHAAN, PATRICIA K. BLOCK,
               PAULETTE FRIDAY, RICHARD O. SUTTON, ROBERT LUND,
               MICHAEL GILLEN, STEVEN L. SEILER, THOMAS R. KOELBL,
               and JEFFREY SLOCUM & ASSOCIATES, INC.,
               Defendants.
               ______________________________________________________

                         PURSUANT TO NOTICE, the deposition of
               LINDA A. HEYRMAN was taken on behalf of the Defendants
               at 1635 Foxtrail Drive, Loveland, Colorado, on August
               24, 2017, at 8:50 a.m., before Lisa B. Kelly,
               Registered Professional Reporter, Certified Realtime
               Reporter, and Notary Public within Colorado.




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          1    remember how many.
          2              Q.    More than ten?
          3              A.    Probably not.
          4              Q.    More than five?
          5              A.    I don't know.
          6              Q.    Maybe around five?
          7              A.    I can't say for sure.
          8              Q.    Do you communicate with your attorneys by
          9    e-mail?
         10              A.    They communicate with me.       I do not
         11    communicate with them.       They send me e-mail.
         12              Q.    Do you recall reviewing the lawsuit, the
         13    document, the complaint that was filed in this case?
         14              A.    Vaguely.
         15              Q.    Did you review it before it was filed?
         16              A.    I believe I did.
         17              Q.    Do you know whom you sued in this case?
         18              A.    Banner.
         19              Q.    And who else, do you know?
         20              A.    Slocum.
         21              Q.    Anyone else?
         22              A.    (Shook head from side to side.)
         23              Q.    Do you know the individuals that you sued
         24    in this case?
         25              A.    I do not.
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